

Matter of Sarantis v Tisch (2025 NY Slip Op 02740)





Matter of Sarantis v Tisch


2025 NY Slip Op 02740


Decided on May 06, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 06, 2025

Before: Moulton, J.P., González, Scarpulla, Higgitt, Michael, JJ. 


Index No. 158685/23|Appeal No. 4066|Case No. 2024-02259|

[*1]In the Matter of Vasilios Sarantis, Petitioner-Respondent,
vJessica Tisch etc., et al., Respondents-Appellants.





An appeal having been taken to this Court by the above-named appellant from an order of the Supreme Court, New York County (Arlene P. Bluth, J.), entered on or about February 29, 2024,
And said appeal having been argued by counsel for the respective parties; and due deliberation having been had thereon, and upon the stipulation of the parties hereto dated April 16th, 2025,
It is unanimously ordered that said appeal be and the same is hereby withdrawn in accordance with the terms of the aforesaid stipulation.
ENTERED: May 6, 2025








